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Appendix D

Account Inquiry x

Date: 01/28/2024 Account: Individual ..548 Category: Customer Service

From: SCOTT TRAUDT

Message #: 002DJaJTJGBBUYTH

41 document

@ Traudi_TDA_Message_3_first_half.png

Hello - | would like to get a playback of a March 20, 2023 conversation | had with broker Cameron Fleming played back for
mre on Monday. February 12th sometime in the afternoon. The conversation started ai around 455am EST and ended about
4D minutes later. ] have some concems about issues associated with my accoun! after thal phone call.

Thanks,

Soot Traudi

802-318-0429
Strafford VT
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Account Inquiry Follow Up x

ate: 01/31/2024 Account: Individual ...548 Category: Customer Service

‘rom: Schwab Client Service
dessage #: OGRNXHKSMXOONKPG

Jear Mr. Traudt,

Thank you for your inquiry regarding wanting a playback of a conversation you had with a representative from last
rear. Regarding that phone call from March 20th, 2023 what specific questions in that call do you need more
nformation on or what are your concerns? While we cannot provide a playback of the conversation, we can address
any issues you have.

f you have any further questions, please start a live chat on Schwab.com or reply to this secure message. Our
epresentatives are available at any time to assist you. We greatly appreciate your business.

3incerely,

jonathan Hayes
3Services Representative
dient Service & Support
|-800-435-4000

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ind an Equal Housing Lender), Charlies Schwab Premier Bank, SSB (Member FDIC) and Charies Schwab Trust Bank (Member FDIC}, provide
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